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Appellate CARBANSCRICT ORDER FORM 4 DIRECEIONS ONTHE-REV. ESIWDE2 Page: 1

 

PART | - To be completed by appellant within fourteen days of filing the notice of appeal.

Short Title: USA v. Martinez District Court Number: _21-cr-00597-JB
District: New Mexico Circuit Court Number: 22-2080
Name of Attorney/Pro Se Party: Aleiandro B. Fernandez mail Address:_ Alejandro Fernandez@fd.org
Name of Law Firm/Office: Federal Public Defender Telephone: (505) 346-2489
Address: 111 Lomas Blvd., NW, Suite 501, Albuquerque, NM__87102
Attorney for: Severano Ceballos Martinez
Name of Court Reporter: Exceptional Reporting Sves. Inc.
Name of Court Reporter (if ordering from more than one): Jennifer Bean

 

 

 

 

PART II- Complete SECTION A (if not ordering a transcript) or SECTION B (if ordering transcript(s)). .

SECTIONA- YHAVE NOT ORDERED A TRANSCRIPT BECAUSE
[] A transcript is not necessary for this appeal;
[] The necessary transcript is already on file in District Court; or
[] The necessary transcript was ordered previously in appeal

numper

 

 

SECTION B- HEREBY ORDER THE FOLLOWING TRANSCRIPT(S):
(Specify the date and proceeding in the space below)

 

 

 

 

 

Voir dire: Opening Statements:

Trial proceedings: Closing Arguments:

Jury Instructions: Other Proceedings: Prel/Dtn hrg. held 4/13/21 (Exceptional

Post-Trial Hearings: Other Proceedings: Arraignment hrg. held 5/6/21 (Exceptional)
(Attach additional pages if necessary) Plea hrg. held 11/3/21 (Exceptional);

Sentencing hrg. held 5/12/22 (J. Bean)
[] 1 will pay the cost of the transcript. My signature on this form is my agreement to pay for
the transcript ordered on this form.

_ gf] This case is proceeding under the Criminal Justice Act.

IF THIS APPEAL IS PROCEEDING UNDER THE CJA PLEASE NOTE YOU MUST ALSO TAKE ALL
STEPS REQUIRED IN EVOUCHER IN ORDER TO COMPLETE PAYMENT ARRANGEMENTS.

NOTE: Leave to proceed in forma pauperis does not entitle appellant to a free transcript. An order of the district court
allowing payment for the transcript at government expense must be obtained. See 28 U.S.C. §753(f).

 

CERTIFICATE OF COMPLIANCE
I certify that I have read the instructions on the reverse of this form and that copies of this transcript order form have
been served on the court reporter (if transcript ordered), the Clerk of U.S. District Court, all counsel of record or
pro se parties, and the Clerk of the U.S. Court of Appeals for the Tenth Circuit. I further certify that satisfactory
arrangements for payment for any transcript ordered have been made with the court reporter(s).

Signature of Attorney/Ordering Party: __/s/ Alejandro B. Fernandez Date: _9/27/2022

 

 

PART III- Tobe completed by the court reporter after satisfactory financial arrangements have been made.

Upon completion, please file one copy with the Clerk of the U.S. Court of Appeals and one copy with the Clerk of the U.S.
District Court.

Date arrangements for payment com aD a d Ls [ZECTL

Estimated completion date: 10] Ad {CE Te
Estimated number of pages: SO)

I certify that I have read the instructions on the reverse side and that adequate arrangements for payment have been
made.

signature of Court Reporter: Ge Nhe Date: G Ji q ee ec

 

 

 

A-8 Transcript Order Form 3/2017
